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                                   UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                         PORTLAND DIVISION


ADIDAS AMERICA, INC., an Oregon                  Case No. 3:24-cv-740
corporation; and ADIDAS AG, a foreign
entity,
                                                 COMPLAINT
                           Plaintiffs,           (Trademark Infringement, Unfair Competition,
                                                 Trademark Dilution, Deceptive Trade Practices,
         v.                                      and Breach of Contract)

AVIATOR NATION, INC., a California               DEMAND FOR JURY TRIAL
corporation; and PAIGE MYCOSKIE, a
resident of Texas,

                           Defendants.




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         Plaintiffs adidas America, Inc. and adidas AG (collectively, “adidas”) state the following

for their Complaint against Defendants Aviator Nation, Inc. (“Aviator Nation”) and Paige

Mycoskie (“Ms. Mycoskie,” collectively with Aviator Nation, “Defendants”).

                                       I.     INTRODUCTION

         1.        For decades, adidas has manufactured, advertised, marketed, promoted,

distributed, and sold footwear and apparel in an array of colors bearing its famous and distinctive

Three-Stripe trademark (the “Three-Stripe Mark”), which is covered by numerous incontestable

federal trademark registrations. Consumers readily recognize adidas’s Three-Stripe Mark and

uniquely associate it with adidas. And federal courts repeatedly have held that adidas’s Three-

Stripe Mark is famous.

         2.        Over the years, Aviator Nation repeatedly has ignored adidas’s rights in the

Three-Stripe Mark, requiring adidas repeatedly to object to the sale of infringing sweatshirts,

sweatpants, hoodies, shorts, and related apparel featuring parallel-stripe designs that are

confusingly similar to adidas’s Three-Stripe Mark.

         3.        In settlement agreements signed in 2012, 2013, and 2022 (collectively, the

“Agreements”), Aviator Nation acknowledged adidas’s rights, agreed to stop selling apparel

adidas had identified as infringing the Three-Stripe Mark, and committed to stop manufacturing,

marketing, or selling any product bearing the Three-Stripe Mark or any design, mark, or feature

confusingly similar to it. Each of the Agreements was signed by Aviator Nation’s CEO and

founder, Paige Mycoskie, who exercises complete control over Aviator Nation, who personally

directs and authorizes Aviator Nation’s sale of infringing apparel, and who oversees the acts

giving rise to this Complaint.



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         4.        Each of the Agreements contains a confidentiality provision requiring the parties

to keep the contents of the Agreements strictly confidential and to not disclose their terms to

anyone.1 Notwithstanding these confidentiality provisions, Ms. Mycoskie recently appeared on

Guy Raz’s National Public Radio podcast “How I Built This” in January 2024 where she

publicly disclosed and misrepresented the parties’ prior disputes and key terms of their 2022

settlement agreement. Specifically, Ms. Mycoskie said:

         Basically, what happened was, in 2012 there were a couple garments that did have
         three stripes on ‘em. I basically said, ‘ok,’ I said, ‘I’ll stop doing three stripe
         garments, but I’m going to continue doing the four stripe.’ And so they like
         basically disappeared for several years, and I stopped doing three stripes. And so
         anyway, they came like years down the road. I don’t remember. I want to say maybe
         2016 or something. They came back, and they said, ‘Ok, now we think your four
         stripes are confusingly similar.’ And I was like, ‘no guys, we made this agreement.’
         And so anyway, in 2016, you know I had a little bit more money. I think at that
         point I actually had insurance for trademark protection. And so this went on for a
         long time, and we did go through mediation and all this stuff. And then in the end,
         they pretty much let go of it. We just settled on the fact that I wouldn’t do three
         stripes, and I would really not do anything with four stripes that was confusing with
         their three stripes because one of the stripes blended into the background of the
         garment or something.

         5.        Ms. Mycoskie’s public statement not only breached the parties’ 2022 Agreement

but demonstrates the contemptuous indifference she and her company repeatedly have exhibited

for the duties and obligations they undertook in the Agreements.

         6.        The Defendants’ contempt toward adidas and the parties’ Agreements extends

beyond Ms. Mycoskie’s clear breach of the confidentiality provision in the 2022 Agreement. In

the same “2022 Agreement,” Aviator Nation agreed to stop selling more than 100 items of

striped apparel, examples of which are shown in the chart below on left and in the attached


         1
          Because of the confidentiality provisions, adidas is not attaching the Agreements as
exhibits to this Complaint. Once the parties enter into a protective order, adidas will amend the
Complaint to add the Agreements so they can be filed under seal.
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Exhibit 1. Notwithstanding its agreement to stop selling these designs, Aviator Nation has

continued selling the same designs:

     Products Aviator Nation Agreed To Stop          Products Aviator Nation Currently
           Selling In 2022 Agreement                         Continues To Sell




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     Products Aviator Nation Agreed To Stop               Products Aviator Nation Currently
           Selling In 2022 Agreement                              Continues To Sell




         7.        In addition to these designs, Aviator Nation has, with actual knowledge of and at

Ms. Mycoskie’s express direction, continued offering for sale and selling apparel bearing

confusingly similar imitations of the Three-Stripe Mark (together with the designs above, the

“Infringing Apparel”)—despite acknowledging adidas’s rights in the famous Three-Stripe Mark

and committing (repeatedly) to stop infringing adidas’s Three-Stripe Mark in each of the three

Agreements.



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         8.        Aviator Nation’s latest Infringing Apparel imitates adidas’s Three-Stripe Mark in

a manner that is likely to cause consumer confusion and deceive the public regarding its source,

sponsorship, or affiliation. Defendants’ actions are in breach of its obligations under the 2022

Agreement, and Defendants’ conduct is diluting and irreparably harming adidas’s brand and its

extremely valuable Three-Stripe Mark.

         9.        adidas hoped to avoid bringing this lawsuit by attempting to reach an amicable

resolution and getting Aviator Nation to comply with the terms of the 2022 Agreement.

Notwithstanding the fact that the 2022 Agreement required the parties to mediate, Ms. Mycoskie

refused to attend the parties’ mediation in person—despite adidas’s repeated efforts to

accommodate Ms. Mycoskie’s schedule and extend the time in which to conduct the mediation.

Despite adidas’s efforts, the parties have been unable to resolve their dispute amicably.

         10.       This is, therefore, an action at law and in equity for breach of contract, trademark

infringement, dilution, and unfair competition arising under: the laws of Oregon; the Trademark

Act of 1946, 15 U.S.C. §§ 1051 et seq. (the “Lanham Act”); the fair business practices and unfair

and deceptive trade practices acts of several states; and the common law. Among other relief,

adidas asks this Court to: (a) permanently enjoin Defendants from distributing, marketing, or

selling apparel using or bearing confusingly similar imitations of the Three-Stripe Mark;

(b) award adidas damages and to treble that award; (c) require Aviator Nation to disgorge all of

its profits from its sale of the Infringing Apparel; and (d) award adidas punitive damages,

attorneys’ fees, and costs.




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                                           II.     PARTIES

         11.       Plaintiff adidas AG is a joint stock company organized and existing under the

laws of the Federal Republic of Germany, having its office and principal place of business at

Postach 11230, D-91072 Herzogenaurach, Federal Republic of Germany.

         12.       Plaintiff adidas America, Inc. is a corporation organized and existing under the

laws of the State of Oregon, having its principal place of business at 5055 N. Greeley Avenue,

Portland, Oregon 97217. adidas America, Inc. directs all U.S.-based operations on behalf of

adidas AG, including sales, brand marketing, product marketing, product design, public

relations, distribution, enforcement, and licensing of and for ADIDAS-branded merchandise,

including goods bearing the famous Three-Stripe Mark. adidas AG and adidas America, Inc., as

well as any predecessors or related entities, are collectively referred to as “adidas.”

         13.       On information and belief, Defendant Aviator Nation, Inc. is a corporation

organized and existing under the laws of California, having a principal place of business at 6363

Regent Street, Huntington Park, California 90255.

         14.       On information and belief, Defendant Paige Mycoskie is an individual citizen and

resident of Texas.

                                III.   JURISDICTION AND VENUE

         15.       This Court has subject matter jurisdiction under Section 39 of the Lanham Act,

15 U.S.C. § 1121, 28 U.S.C. §§ 2201 and 2202. Subject matter jurisdiction over adidas’s related

state and common law claims is proper pursuant to 28 U.S.C. §§ 1338 and 1367.

         16.       This Court has personal jurisdiction over Defendants because, upon information

and belief, (a) Defendants have knowingly and purposefully marketed, distributed, offered for

sale, and sold the Infringing Apparel to persons within the State of Oregon; (b) Defendants
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regularly transact and conduct business within the State of Oregon; and (c) Defendants have

otherwise made or established contacts within the State of Oregon sufficient to permit the

exercise of personal jurisdiction. Specifically, Aviator Nation has purposefully targeted,

marketed, distributed, offered for sale, and sold the Infringing Apparel to persons within the

State of Oregon, and otherwise transacted business within the State of Oregon, all at the direction

of Ms. Mycoskie.

         17.       This Court further has personal jurisdiction over Defendants because Defendants

purposefully entered into, and then breached, a settlement agreement with Oregon citizen adidas

America, Inc., knowing it would cause harm to adidas in Oregon.

         18.       Venue is proper in the District of Oregon pursuant to 28 U.S.C. § 1391(b)(2),

because a substantial part of the acts or omissions giving rise to adidas’s claims occurred in this

District.

                    IV.    FACTS COMMON TO ALL CLAIMS FOR RELIEF

A. adidas’s Famous Three-Stripe Mark

         19.       adidas is currently, and for many years has been, one of the world’s leading

manufacturers of athletic apparel, sportswear, footwear, and sporting equipment. At least as early

as 1952, adidas began using the Three-Stripe Mark on footwear sold in the United States and

worldwide. The Three-Stripe Mark, which is nonfunctional as applied to footwear, quickly came

to signify the quality and reputation of adidas footwear. Representative examples of footwear

bearing the Three-Stripe Mark are attached as Exhibit 2.

         20.       At least as early as 1967, adidas began using its Three-Stripe Mark on apparel

sold in the United States and worldwide. The Three-Stripe Mark, which is nonfunctional as

applied to apparel, quickly came to signify the quality and reputation of adidas apparel.
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Representative examples of apparel, including shirts, jackets, pants, and shorts, bearing the

Three-Stripe Mark appear below and are attached as Exhibit 3.

         21.       Examples of apparel sold by adidas bearing the Three-Stripe Mark are shown

below:




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         22.       adidas is the owner of a federal trademark registration, Reg. No. 2,284,308, issued

by the United States Patent and Trademark Office (“USPTO”) on October 12, 1999, for the

Three-Stripe Mark, as depicted below, for “sports and leisure wear, namely pants.”




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Affidavits have been filed pursuant to Sections 8 and 15 of the Lanham Act, 15 U.S.C. §§ 1058

and 1065, and this registration is incontestable. A copy of Certificate of Registration No.

2,284,308 is attached as Exhibit 4.

         23.       adidas is the owner of a federal trademark registration, Reg. No. 2,278,591, issued

by the USPTO on September 21, 1999, for the Three-Stripe Mark, as depicted below, for “sports

and leisure wear, namely, shorts.”




Affidavits have been filed pursuant to Sections 8 and 15 of the Lanham Act, 15 U.S.C. §§ 1058

and 1065, and this registration is incontestable. A copy of Certificate of Registration No.

2,278,591 is attached as Exhibit 5.

         24.       adidas is the owner of a federal trademark registration, Reg. No. 3,029,127, issued

by the USPTO on December 13, 2005, for the Three-Stripe Mark, as depicted below, for

“clothing, namely, T-shirts, sweatshirts, jackets and coats.”

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Affidavits have been filed pursuant to Sections 8 and 15 of the Lanham Act, 15 U.S.C. §§ 1058

and 1065, and this registration is incontestable. A copy of the Certificate of Registration for this

execution of the Three-Stripe Mark is attached as Exhibit 6.

         25.       adidas is the owner of a federal trademark registration, Reg. No. 4,910,643, issued

by the USPTO on March 8, 2016, for the Three-Stripe Mark, as depicted below, for “Clothing,

namely . . . pants, shorts, bottoms, . . . tracksuits, training suits, [and] warm-up suits.”

A copy of Certificate of Registration No. 4,910,643 is attached as Exhibit 7. A declaration of

incontestability for this registration has been filed.




         26.       adidas is the owner of additional incontestable federal registrations for the Three-

Stripe Mark covering other items of apparel, including shirts, jackets, coats, vests, and headwear,

including Reg Nos. 2,016,963, 2,058,619, 3,087,329, 3,183,656, 3,183,663, and 3,236,505.

Copies of these Certificates of Registration are attached collectively as Exhibit 8.


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         27.       adidas is also the owner of incontestable federal registrations for the Three-Stripe

Mark covering footwear, including Reg Nos. 1,815,956, 1,833,868, 2,278,589, 2,909,861,

2,999,646, 3,029,129, and 3,029,135. Copies of these Certificates of Registration are attached

collectively as Exhibit 9.

         28.       Additionally, adidas owns federal trademark registrations for the word marks

THE BRAND WITH THE 3 STRIPES and THREE STRIPE LIFE, Reg. Nos. 1,674,229 and

6,897,937, respectively (issued by the USPTO on February 4, 1992 and November 15, 2022

respectively for various items of apparel and accessories). Affidavits have been filed for Reg.

No. 1,674,229 pursuant to Sections 8 and 15 of the Lanham Act, 15 U.S.C. §§ 1058 and 1065,

and this registration is incontestable. Copies of these Certificates of Registration are attached

collectively as Exhibit 10.

         29.       In recent years, annual sales of products bearing the Three-Stripe Mark have

totaled in the billions of dollars globally and in the hundreds of millions of dollars within the

United States.

         30.       adidas has invested hundreds of millions of dollars building its brand in

connection with the Three-Stripe Mark, and federal courts repeatedly have stated that the Three-

Stripe Mark is famous among consumers in the United States. Indeed, for more than 50 years,

adidas has advertised and promoted the Three-Stripe Mark in the United States through virtually

every marketing channel, including print, television, digital advertising, social media, influencer

marketing, and sponsorships.

         31.       Since introducing the Three-Stripe Mark, adidas has spent millions of dollars

promoting the mark and products bearing the mark in the United States. adidas has used the

Three-Stripe Mark in connection with its frequent sponsorship of athletic tournaments and
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organizations, as well as professional athletes and collegiate sports teams. For example, adidas

has had longstanding relationships with the University of Kansas, the University of Nebraska,

the University of Louisville, and the University of Miami. Among many other athletes who wear

apparel and footwear bearing the Three-Stripe Mark, adidas sponsors: (a) NBA stars James

Harden, Damian Lillard, Donovan Mitchell, Trae Young, and Anthony Edwards; (b) MLB all-

stars J.D. Martinez, Julio Rodriguez, and Corey Seager; (c) professional golfers Xander

Schauffele, Sergio Garcia, and Ludvig Aberg; (d) NFL quarterback and three-time Super Bowl

champion Patrick Mahomes; (e) soccer superstars Lionel Messi, Mohamed Salah, Trinity

Rodman, and Lindsey Horan; and (f) top tennis players, including Stefanos Tsitsipas, Jessica

Pegula, Alexander Zevrev, and Maria Sakkari. For decades, adidas has also sponsored the world-

famous Boston Marathon, along with many other events, teams, clubs, and individuals.

         32.       adidas also has sponsored the U.S. volleyball and beach volleyball teams. And it

is known for sponsoring alpine athletes, including Mikaela Shifrin, Alice Robinson, and Petra

Vlhova, as well as extreme sports athletes, such as the official adidas Skateboarding team.

         33.       Beyond the sports world, adidas has used the Three-Stripe Mark in connection

with its frequent sponsorship of television and movie stars, social media influencers, and musical

artists, including 13-time Grammy Award winning producer Pharrell Williams and world

renowned reggaeton artist Bad Bunny.

         34.       adidas also frequently has sponsored music and lifestyle festivals and events,

including, for example, Wanderlust and Lollapalooza.

         35.       adidas’s collaborations with high-end fashion designer brands date back to at least

2002 when adidas announced the first-of-its-kind collaboration with Japanese fashion designer Yohji

Yamamoto called “Y-3” (where “the 3 represents the three signature stripes of the [a]didas logo”).
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See Exhibit 11 (“Think of Adidas, by Way of Porsche,” The New York Times, February 28, 2008).

“Y-3 was one of the first to blend the worlds of high-fashion with sportswear—something we know

all too well today—and it continues to dominate this space.” See Exhibit 12 (Santiago, Elliot,

“Looking Back at 20 Years of Y-3,” Hypebeast, February 25, 2022; Silbert, Jake, “A Conceptual

SS22 Collection Marks Y-3’s 20th Anniversary Year” Highsnobiety, January 26, 2022). Notably,

Mr. Yamamoto was initially interested in the collaboration because of his desire to use the Three-

Stripe Mark. See Exhibit 13 (Spagnolo, Angelo, “Walking Backwards Into the Future: Analyzing

15 Years of Y-3,” Grailed, February 19, 2018). The success of Y-3 eventually paved the way for

adidas’s collaboration with fashion designer Stella McCartney, which began in 2004. See Exhibit 14

(Zee, Michaela, “What Stella McCartney Taught Us About Sustainability,” L’OFFICIEL, September

13, 2022). adidas has continued its frequent sponsorships and collaborations with iconic brands

including:

         a. Prada, featuring a “quintessential [a]didas tracksuit . . . sleekly tailored with subtle Prada

              twists: the track pants’ side stripes run along the inseam, a typical coach’s jacket is

              extended to a knee-length coat.” See Exhibit 15 (Plumber, Todd, “Prada Teamed Up

              With Adidas on New Collection of Recycled Clothing—and It’s Available Now,”

              Robb Report, January 13, 2022);

         b. Gucci, “merg[ing] Adidas and Gucci logos and popular motifs, namely Adidas’ three-

              strip[e] design and its signature tracksuits.” See Exhibit 16 (Ilchi, Layla, “Everything to

              Know About the Adidas x Gucci Collection,” Women’s Wear Daily, June 7, 2022);

         c. Balenciaga, incorporating “Three Stripes branding both in the literal sense and through a

              co-branded Trefoil & Balenciaga logo.” See Exhibit 17 (Vlahos, Nicholas, “The Full

              Balenciaga x adidas Collection Drops On November 3rd,” Sole Retriever, November 2,
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               2022);

         d. Edison Chen, Clot founder and fashion designer, recently introduced the Clot x

               Neighborhood x adidas Superstar shoe featuring the “signature three stripes . . . stitched

               into the material in a zig-zag pattern.” See Exhibit 18 (Torres, Luis, “Clot Founder

               Edison Chen, Adidas Originals Announce Global Partnership,” Nice Kicks, October 13,

               2023);

         e. Fear of God, a prominent streetwear label, teamed up with adidas for a collaboration that

               combines “distinctive aesthetics and the iconic Three Stripes” to create Fear of God

               Athletics. See Exhibit 19 (Briguglio, Mario, “ADIDAS X FEAR OF GOD ATHLETICS

               DELIVERY 1 RELEASES DECEMBER 2023,” Sneaker Bar Detroit, November 29,

               2023); and

         f. Wales Bonner, a British fashion brand known for its fusion of cultural influences,

               recently collaborated with adidas to construct an adidas Samba collection that “feature[s]

               metallic studs illuminating the iconic Three Stripes.” See Exhibit 20 (Briguglio, Mario,

               “WALES BONNER’S ADIDAS SAMBA ‘STUDDED’ PACK LIMITED TO 750

               PAIRS EACH,” Sneaker Bar Detroit, February 9, 2024).

         36.       Unsolicited media coverage has referred to adidas’s “classic three stripes”

(Hondorp, Gabrielle, “The Best Tracksuits of 2024: Top Picks for Style, Speed and Comfort,”

Sports Illustrated, January 4, 2024), adidas as the “[b]rand with the Three Stripes” (Hernanadez,

Jovani “Three Stripes Across 50 States: A Guide To The Best-Selling adidas Shoes In The U.S.,”

Sneaker News, November 15, 2023), adidas’s “distinctive three-stripe pattern” (Gupta, Manjari,

“5 sneaker models that define Adidas heritage,” Sportskeeda, May 29, 2023), the “beloved Three

Stripes icons” (Le, Michael, “The adidas PUFFYLETTE Creates An Illusory Homage To Iconic
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Three Stripes Sneakers,” Sneaker News, December 8, 2022), adidas’s “seminal three-stripes

style” (Sandoval, Paolo, “From Samba to Superstar: Which Adidas Sneakers Are Right for

You?,” Inside Hook, October 19, 2022), “[t]hink of [a]didas and you think of the Three Stripes”

(White, Mark, “Adidas: The history of the Three Stripes on football shirts,” FourFourTwo,

July 15, 2022), adidas’s “signature three stripes” (Z., Yna, “Bringing the Lego 10282 Adidas

Originals Superstar to life,”AsiaOne, July 14, 2021), “the iconic three-stripe [a]didas tag”

(Romano, Brittany, “Adidas has finally made a golf shoe version of the popular three-striped

Superstar sneaker,” Golf Digest, August 13, 2020), adidas’s “signature three-stripes” (Northman,

Tora, “Adidas Originals’ Burgundy Track Pants Are the Perfect Retro Staple,” Hypebae,

February 6, 2018), adidas’s “signature three stripes” (Butler-Young, Sheena, “The Inside Scoop

on How Adidas Became One of the Industry’s Most Sought-After Brands,” Footwear News,

March 14, 2017), “iconic three stripes” (Reimel, Erin, “Alexander Wang Announced a Major

Collab With Adidas at Fashion Week,” Glamour, September 11, 2016), “famous Three Stripes”

(Schwartz, Rob, “Three Brands That Won At The World Cup,” Forbes, July 13, 2014). Copies

of the foregoing and other unsolicited media articles discussing the adidas brand and the Three-

Stripe Mark are attached collectively as Exhibit 21.

         37.       In addition, adidas’s advertising campaigns and sponsorships have themselves

received extensive media coverage. For example:

                  In 2019, adidas recruited tennis star Billie Jean King and ESPN host Maria Taylor

                   to “promote visibility of women in sport” with its “She Breaks Barriers”

                   campaign. This advertisement also “features athletes Rahaf Khatib, Keni

                   Harrison, Becky Sauerbrunn, and Layshia Clarendon.” See Exhibit 22 (Smith,

                   Jordan, “Adidas Launches Campaign for Equal Media Representation in Sport,”
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                   Runner’s World, March 12, 2019).

                  In 2020, adidas kicked off a campaign “Change Is a Team Sport,” directed by and

                   starring Jonah Hill, which emphasizes the power of teamwork and includes other

                   icons such as K-pop’s super girl group BLACKPINK, chart-topping producer-

                   singer Pharrell Williams, Brazil’s leading diva Anitta, Hong Kong-born singer-

                   rapper Jackson Wang, DJ Kerwin Frost, Japanese fashion designer Nigo,

                   professional gamer Ninja, American actress Yara Shahidi, and French soccer

                   player Paul Pogba. See Exhibit 23 (“Change Is A Team Sport,” adidas News,

                   January 26, 2020).

                  adidas’s 2021 “Impossible is Nothing” campaign is a documentary-style work that

                   extensively features the adidas trademarks, including the Three-Stripe Mark,

                   throughout on apparel and footwear and is inclusive of people from different

                   sports, genders, ethnicities, and nationalities, including Siya Kolisi, the first Black

                   captain of the South African rugby team, Tiffany Abreu, the first trans woman to

                   play in Brazilian Volleyball Superliga, Cyrill Gutsch, the award-winning designer

                   and brand/product developer of Parley, Ranveer Singh, awarding-winning Hindi

                   film actor, Mohamed Salah Hamed Mahrous Ghaly, Egyptian professional

                   footballer for Liverpool and captain of the Egypt national team, and numerous

                   WNBA superstars, including Candace Parker, Nneka Ogwumike, Layshia

                   Clarendon, and Angel McCoughtry. See Exhibit 24 (“Impossible Is Nothing:

                   Inspiring The World To See Possibilities,” adidas News, April 19, 2021).

                  In 2022, adidas launched a campaign in connection with the 2022 FIFA World

                   Cup called “When Football Is Everything, Impossible is Nothing,” which featured
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                   icons from across sports and media such as Lionel Messi, Karim Benzema,

                   Achraf Hakimi, Son Heung-Min, Jude Bellingham, Pedro ‘Pedri’ González

                   López, Serge Gnabry and Stormzy. See Exhibit 25 (“When Football Is

                   Everything Impossible Is Nothing,” adidas News, November 14, 2022).

                  In 2023, adidas launched a series of short films accompanied by a set of triptych

                   stills shot by Chadwick Tyler, with some sets featuring partners, collaborators,

                   and friends of the brand that have helped to tell the story of the Trefoil the world

                   over including: Zinedine Zidane, Jenna Ortega, Pusha T, Anitta, Hoyeon Jung,

                   David Beckham, Jennie, Stormzy. See Exhibit 26 (“Adidas Originals Launches

                   New Global Brand Platform: ‘We Gave The World An Original. You Gave Us A

                   Thousand Back,’” adidas News, September 15, 2023).

                  adidas’s 2024 “You Got This” campaign features professional and amateur

                   athletes—including Patrick Mahomes, Trinity Rodman, Lionel Messi, Linda

                   Caicedo, Rohit Sharma, Anthony Edwards, Jude Bellingham and the New

                   Zealand All Blacks rugby team—to address how pressure detracts from their

                   enjoyment of playing a sport. See Exhibit 27 (“Adidas tells athletes of all types:

                   ‘You got this,’” MarketingDive, February 12, 2024).

         38.       adidas has built up and now owns extremely valuable goodwill that is symbolized

by the Three-Stripe Mark. As a result of adidas’s widespread, continuous, and exclusive use of

the Three-Stripe Mark in connection with its apparel and footwear for many decades, the general

consuming public of the United States recognizes the Three-Stripe Mark as a designation of

source of the goods of adidas and it is, therefore, a famous mark. The Three-Stripe Mark became

famous long before Aviator Nation began selling the Infringing Apparel.
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         B.        Aviator Nation’s Prior Infringement And The 2012 And 2013 Settlement
                   Agreements

         39.       In or around 2011, adidas became aware that Aviator Nation was offering for sale

and selling a variety of apparel, including t-shirts, long-sleeve shirts, sweatshirts, and zip-up tops

featuring three parallel stripes, examples of which are depicted below (the “2011 Infringing

Apparel”):




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         40.       Soon thereafter, adidas communicated its objections to Aviator Nation’s sales of the

2011 Infringing Apparel based on adidas’s common law and registered rights in the Three-Stripe

Mark.

         41.       adidas and Aviator Nation resolved their dispute by entering into a settlement

agreement that was fully executed in April 2012 (the “2012 Agreement”). As part of that Agreement,

Aviator Nation agreed not to produce, manufacture, promote, offer for sale, or sell the 2011

Infringing Apparel.

         42.       Notably, nothing in the 2012 Agreement permitted Aviator Nation to sell products

featuring four parallel stripes, and no such products were included in that Agreement’s safe harbor

exhibit. In fact, in the 2012 Agreement, Aviator Nation expressly agreed not to produce or sell

products confusing similar to the Three-Stripe Mark.

         43.       Notwithstanding the fact that the parties only recently had entered into the 2012

Agreement in April 2012, approximately six months later—in or around October of 2012—adidas

again became aware that Aviator Nation was offering for sale and selling apparel featuring three


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parallel stripes in violation of adidas’s common law and registered trademark rights and in breach of

the parties’ 2012 Settlement Agreement. Examples of this apparel are shown below (the “2012

Infringing Apparel”):




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         44.       After adidas contacted Aviator Nation, the parties entered into a letter agreement,

according to which Aviator Nation stopped selling the 2012 Infringing Apparel. The Parties executed

this letter agreement in January 2013 (the “2013 Agreement”).

         45.       The 2013 Agreement affirmed Aviator Nation’s acknowledgement of adidas’s rights,

and did not modify Aviator Nation’s undertakings in the 2012 Agreement.

C.       The Parties’ 2022 Agreement And the Present Dispute

         46.       Notwithstanding the 2012 and 2013 Agreements, in or around May 2018, adidas

again learned that Aviator Nation was offering for sale and selling apparel featuring a stripe design

that is confusingly similar to adidas’s famous Three-Stripe Mark and in breach of the 2012

Agreement.

         47.       Specifically, in or around May 2018, adidas became aware that Aviator Nation was

selling the apparel depicted below.




         48.       Following further investigation, adidas identified additional apparel offered for

sale and sold in violation of the parties’ 2012 Agreement, including the examples shown below,

among many other items.

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         49.       While attempting to resolve the dispute, in or around June 2019, adidas became

aware that—in blatant disregard of its obligations under the 2012 Agreement—Aviator Nation

had begun offering for sale and selling the following counterfeit apparel bearing three stripes:




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         50.       adidas continued to attempt, but was unable, to amicably resolve its dispute based

on Aviator Nation’s sale of egregiously infringing apparel, so it filed a lawsuit styled adidas


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America, Inc. et al v. Aviator Nation, Inc., Civil Action No. 3:19-cv-02049-HZ, asserting claims

for breach of contract, trademark infringement and dilution, unfair competition, and

counterfeiting (the “2019 Lawsuit”).

         51.       The parties resolved the 2019 Lawsuit through the 2022 Agreement, which

Ms. Mycoskie signed on behalf of Aviator Nation.

         52.       The 2022 Agreement is valid and enforceable, and Aviator Nation and adidas entered

into the 2022 Agreement after arms-length negotiations and a mediation.

         53.       Aviator Nation specifically agreed not to produce, manufacture, distribute, sell, offer

for sale, advertise, promote, license, or market the above apparel or any of the apparel shown in

Exhibit 1.

         54.       Aviator Nation further agreed (again) not to produce, manufacture, distribute, sell,

offer for sale, advertise, promote, license, or market anything confusingly similar to the Three-Stripe

Mark.

         55.       On information and belief, Defendants never intended to comply with the 2022

Agreement in word or spirit, and as shown below, have not complied with the 2022 Agreement.

         56.       adidas discovered in early 2024 that Aviator Nation, at Ms. Mycoskie’s direction,

was still selling apparel indistinguishable from the very items Aviator Nation agreed not to sell, as

shown below:




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   Products Aviator Nation Agreed To Stop   Products Aviator Nation Has Continued
         Selling In 2022 Agreement                         To Sell




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   Products Aviator Nation Agreed To Stop   Products Aviator Nation Has Continued
         Selling In 2022 Agreement                         To Sell




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   Products Aviator Nation Agreed To Stop                Products Aviator Nation Has Continued
         Selling In 2022 Agreement                                      To Sell




         57.       Thus, Aviator Nation agreed to stop selling the items shown in Exhibit 1, as well as

anything confusingly similar to adidas’s Three-Stripe Mark, and has continued to sell apparel

indistinguishable from that which it agreed to stop selling.



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         58.       In addition, at Ms. Mycoskie’s direction, Aviator Nation has continued to sell other

Infringing Apparel that violates the 2022 Agreement, including, for example, the apparel shown

below:




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         59.       Aviator Nation’s current Infringing Apparel even emphasizes three stripes. Such

apparel features five stripes down the outseam (where adidas traditionally has placed its Three-Stripe

Mark) with three stripes that are much more prominent than the other two stripes, which are

substantially similar in color to the background color of the garment and difficult to see. The apparel

thus gives the appearance of having three stripes. An example is shown below:




         60.       Although the 2022 Agreement includes narrow safe harbors, the apparel shown in

Paragraphs 56, 58, and 59 above do not fall within any of these safe harbors.




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         61.       On information and belief, Aviator Nation knowingly, willfully, intentionally, and

maliciously has continued using confusingly similar imitations of the Three-Stripe Mark on the

Infringing Apparel in violation of the 2022 Agreement.

         62.       Aviator Nation has displayed the Infringing Apparel in ways that emphasize three

of the stripes on the Infringing Apparel, even if the apparel features additional stripes, as shown

above and below. Consumers who see the Infringing Apparel displayed in this manner will not

know the apparel has any additional stripes, adding to likely initial-interest confusion with adidas

and its Three-Stripe Mark, among other forms of consumer confusion.




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         63.       All actions taken by Aviator Nation mentioned in this Complaint have been and

are at the direction of Ms. Mycoskie or approved by Ms. Mycoskie.

         64.       The Infringing Apparel designed, manufactured, produced, distributed, marketed,

promoted, offered for sale, and sold by Aviator Nation is not manufactured by adidas, nor is

Aviator Nation associated, affiliated, or connected with adidas, or licensed, authorized,

sponsored, endorsed, or approved by adidas in any way.

         65.       adidas used its Three-Stripe Mark extensively and continuously long before

Aviator Nation began distributing, marketing, promoting, offering for sale, or selling the

Infringing Apparel; and the Three-Stripe Mark became famous long before Aviator Nation began

its infringement, unfair competition, and dilution of adidas’s rights.

         66.       Aviator Nation’s use of confusingly similar imitations of adidas’s famous Three-

Stripe Mark, at the direction of Ms. Mycoskie, is likely to deceive, confuse, and mislead actual

and prospective purchasers before, during, and after purchase into believing that the Infringing

Apparel is manufactured or authorized by, or in some manner associated with, adidas, which it is

not.

         67.       The likelihood of confusion, mistake, and deception engendered by Aviator

Nation’s misappropriation of adidas’s famous Three-Stripe Mark is causing irreparable harm to

the goodwill symbolized by the Three-Stripe Mark and the reputation for quality that it

embodies.

         68.       On information and belief, Aviator Nation continues to use confusingly similar

imitations of adidas’s famous Three-Stripe Mark in connection with the sale of apparel that

directly competes with apparel offered for sale by adidas through the same channels of marketing

and trade. Aviator Nation began selling the Infringing Apparel long after adidas had established
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protectable trademark rights in the Three-Stripe Mark and well after the Three-Stripe Mark

became famous among the general public in the United States.

         69.       adidas has attempted to resolve this dispute amicably. adidas sent a letter to

Aviator Nation on January 26, 2024, and has engaged in emails, telephone calls, and a mediation

(in which Ms. Mycoskie refused to participate in person), all to no avail.

                                    FIRST CLAIM FOR RELIEF
                                  (Federal Trademark Infringement)

         70.       adidas repeats and incorporates by reference the allegations in the preceding

paragraphs.

         71.       Aviator Nation’s use of confusingly similar imitations of adidas’s Three-Stripe

Mark, at the direction of Ms. Mycoskie, is likely to cause confusion, deception, and mistake by

creating the false and misleading impression that Aviator Nation’s goods are manufactured or

distributed by adidas, or are associated or connected with adidas, or have the sponsorship,

endorsement, or approval of adidas.

         72.       adidas and Aviator Nation advertise, market, and sell their respective products

through the same or overlapping channels; and Aviator Nation’s uses of stripes described in this

Complaint are likely to cause confusion, deception, and mistake among consumers before, at the

point of, and after the purchase of Aviator Nation’s products, resulting in initial-interest, point-

of-sale, and post-sale confusion.

         73.       At the direction of Ms. Mycoskie, Aviator Nation has used marks confusingly

similar to adidas’s federally registered Three-Stripe Mark in violation of 15 U.S.C. §§ 1114 and

1125(a). Aviator Nation’s activities have caused and, unless enjoined by this Court, will continue

to cause a likelihood of confusion and deception of members of the trade and public, and,


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additionally, injury to adidas’s goodwill and reputation as symbolized by adidas’s Three-Stripe

Mark, for which adidas has no adequate remedy at law.

         74.       Aviator Nation’s actions demonstrate an intentional, willful, and malicious intent

to trade on the goodwill associated with adidas’s Three-Stripe Mark to adidas’s great and

irreparable harm.

         75.       Aviator Nation has caused, and is likely to continue causing, substantial injury to

the public and to adidas; therefore, adidas is entitled to injunctive relief and to recover Aviator

Nation’s profits, actual damages, enhanced profits and damages, costs, and reasonable attorneys’

fees under 15 U.S.C. §§ 1114, 1116, and 1117.

         76.       All of Aviator Nation’s complained-of actions are at the direction of, and

approved by, Ms. Mycoskie, who is individually liable.

                                   SECOND CLAIM FOR RELIEF
                                    (Federal Unfair Competition)

         77.       adidas repeats and incorporates by reference the allegations in the preceding

paragraphs.

         78.       Aviator Nation’s use, at the direction of Ms. Mycoskie, of confusingly similar

imitations of adidas’s Three-Stripe Mark has caused and is likely to cause confusion, deception,

and mistake by creating the false and misleading impression that Aviator Nation’s goods are

manufactured or distributed by adidas, or are affiliated, connected, or associated with adidas, or

have the sponsorship, endorsement, or approval of adidas.

         79.       Aviator Nation has made false representations, false descriptions, and false

designations of its goods in violation of 15 U.S.C. § 1125(a). Aviator Nation’s activities, at the

direction of Ms. Mycoskie, have caused and, unless enjoined by this Court, will continue to


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cause a likelihood of confusion and deception of members of the trade and public, and,

additionally, injury to adidas’s goodwill and reputation as symbolized by adidas’s Three-Stripe

Mark, for which adidas has no adequate remedy at law.

         80.       Aviator Nation’s actions demonstrate an intentional, willful, and malicious intent

to trade on the goodwill associated with adidas’s Three-Stripe Mark to the great and irreparable

injury of adidas.

         81.       Aviator Nation’s conduct has caused, and is likely to continue causing, substantial

injury to the public and to adidas. adidas is entitled to injunctive relief and to recover Aviator

Nation’s profits, actual damages, enhanced profits and damages, costs, and reasonable attorneys’

fees under 15 U.S.C. §§ 1125(a), 1116, and 1117.

         82.       All of Aviator Nation’s complained-of actions are at the direction of, and

approved by, Ms. Mycoskie, who is individually liable.

                                      THIRD CLAIM FOR RELIEF
                          (Federal Trademark Dilution of the Three-Stripe Mark)

         83.       adidas repeats and incorporates by reference the allegations in the preceding

paragraphs.

         84.       For over sixty-five years, adidas has exclusively and continuously promoted and

used its registered Three-Stripe Mark in the United States. The Three-Stripe Mark became a

famous and well-known symbol of adidas and its products among the general public in the

United States well before Aviator Nation began promoting, distributing, or offering for sale the

Infringing Apparel. Indeed, this Court previously held the Three-Stripe Mark to be

“unquestionably famous.” adidas Am., Inc. v. Skechers USA, Inc., 149 F. Supp. 3d 1222, 1247

(D. Or. 2016).


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         85.       Aviator Nation, at the direction of Ms. Mycoskie, is making use in commerce of

confusingly similar imitations of adidas’s famous Three-Stripe Mark that dilute and are likely to

dilute the distinctiveness of adidas’s famous Three-Stripe Mark by eroding the public’s exclusive

identification of this famous mark with adidas, tarnishing and degrading the positive associations

and prestigious connotations of this famous mark, and otherwise lessening the capacity of the

famous Three-Stripe Mark to identify and distinguish adidas’s goods.

         86.       Aviator Nation’s actions demonstrate an intentional, willful, and malicious intent

to trade on the goodwill associated with adidas’s Three-Stripe Mark or to cause dilution of the

mark to the great and irreparable injury of adidas.

         87.       Aviator Nation has caused and, unless enjoined by this Court, will continue to cause

irreparable injury to adidas’s goodwill and business reputation, and dilution of the distinctiveness and

value of adidas’s famous Three-Stripe Mark in violation of 15 U.S.C. § 1125(c). adidas therefore is

entitled to injunctive relief and to Aviator Nation’s profits, actual damages, enhanced profits and

damages, costs, and reasonable attorneys’ fees under 15 U.S.C. §§ 1125(c), 1116, and 1117.

         88.       All of Aviator Nation’s complained-of actions are at the direction of, and

approved by, Ms. Mycoskie, who is individually liable.

                                  FOURTH CLAIM FOR RELIEF
                     (State Trademark Dilution and Injury to Business Reputation)

         89.       adidas repeats and incorporates by reference the allegations in the preceding

paragraphs.

         90.       For over sixty-five years, adidas has exclusively and continuously promoted and used

its registered Three-Stripe Mark in the United States. The Three-Stripe Mark became a famous

and well-known symbol of adidas and its products among the general public in the United States


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well before Aviator Nation began promoting, distributing, or offering for sale the Infringing

Apparel.

         91.       Aviator Nation, at the direction of Ms. Mycoskie, is making use in commerce of

confusingly similar imitations of adidas’s famous Three-Stripe Mark that dilute and are likely to

dilute the distinctiveness of adidas’s famous Three-Stripe Mark by eroding the public’s exclusive

identification of this famous mark with adidas, tarnishing and degrading the positive associations

and prestigious connotations of this famous mark, and otherwise lessening the capacity of the

famous Three-Stripe Mark to identify and distinguish adidas’s goods.

         92.       Aviator Nation’s actions demonstrate an intentional, willful, and malicious intent

to trade on the goodwill associated with adidas’s Three-Stripe Mark or to cause dilution of the

mark to the great and irreparable injury of adidas.

         93.       Aviator Nation has caused and, unless enjoined by this Court, will continue to cause

irreparable injury to adidas’s goodwill and business reputation, and dilution of the distinctiveness

and value of adidas’s famous Three-Stripe Mark in violation of the Oregon antidilution act, ORS

§ 647.107 (2021), as well as the antidilution laws of several other states, including Alabama, Ala.

Code § 8-12-17 (2022); Alaska, AK. Stat. § 45.50.180 (2022); Arizona, Ariz. Rev. Stat. Ann.

§ 44-1448.01 (2022); Arkansas, Ark. Code Ann. § 4-71-213 (2020); California, Cal. Bus. & Prof.

Code § 14247 (West 2022); Connecticut, Conn. Gen. Stat. § 35-11i(c) (2022); Delaware, Del.

Code Ann. tit. 6, § 3313 (2022); Florida, Fla. Stat. § 495.151 (2022); Georgia, Ga. Code Ann.

§ 10-1-451 (2022); Hawaii, Haw. Rev. Stat. § 482-32 (2022); Idaho, Idaho Code § 48-513

(2022); Illinois, 765 Ill. Comp. Stat. 1036/65 (2022); Indiana, Ind. Code § 24-2-1-13.5 (2022);

Iowa, Iowa Code § 548.113 (2022); Kansas, Kan. Stat. Ann. § 81-214 (2021); Louisiana, La.

Stat. Ann. § 51:223.1 (2022); Maine, Me. Rev. Stat. Ann. tit. 10, § 1530 (2022); Massachusetts,
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Mass. Gen. Laws ch. 110H, § 13 (2022); Minnesota, Minn. Stat. § 333.285 (2022); Mississippi,

Miss. Code Ann. § 75-25-25 (2020); Missouri, Mo. Ann. Stat. § 417.061(1) (2022); Montana,

Mont. Code Ann. § 30-13-334 (2022); Nebraska, Neb. Rev. Stat. § 87-140 (2022); Nevada, Nev.

Rev. Stat. § 600.435 (2022); New Hampshire, N.H. Rev. Stat. Ann. § 350-A:12 (2022); New

Jersey, N.J. Stat. Ann. § 56:3-13.20 (2022); New Mexico, N.M. Stat. Ann. § 57-3B-15 (2021);

New York, N.Y. Gen. Bus. Law § 360-l (McKinney 2022); Pennsylvania, 54 Pa. Cons. Stat.

§ 1124 (2022); Rhode Island, 6 R.I. Gen. Laws § 6-2-12 (2022); South Carolina, S.C. Code Ann.

§ 39-15-1165 (2022); Tennessee, Tenn. Code Ann. § 47-25-513 (2021); Texas, Tex. Bus. &

Com. Code Ann. § 16.103 (2022); Utah, Utah Code Ann. § 70-3a-403 (2022); Washington,

Wash. Rev. Code § 19.77.160 (2022); West Virginia, W. Va. Code § 47-2-13 (2022); and

Wyoming, Wyo. Stat. Ann. § 40-1-115 (2022).

         94.       adidas, therefore, is entitled to injunctive relief, damages, and costs, as well as, if

appropriate, enhanced damages, punitive damages, and reasonable attorneys’ fees.

         95.       All of Aviator Nation’s complained-of actions are at the direction of, and

approved by, Ms. Mycoskie, who is individually liable.

                                    FIFTH CLAIM FOR RELIEF
                                (Unfair and Deceptive Trade Practices)

         96.       adidas repeats and incorporates by reference the allegations in the preceding

paragraphs.

         97.       Aviator Nation, at the direction of Ms. Mycoskie, has been and is passing off its

goods as those of adidas, causing a likelihood of confusion or misunderstanding as to the source,

sponsorship, or approval of Aviator Nation’s goods, causing a likelihood of confusion as to

Aviator Nation’s affiliation, connection, or association with adidas, and otherwise damaging the


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public.

          98.      Aviator Nation’s conduct constitutes unfair and deceptive acts or practices in the

course of a business, trade, or commerce in violation of the unfair and deceptive trade practices

statutes of several states, including California, Cal. Bus. & Prof. Code § 17200, et seq. (West

2022); Colorado, Colo. Rev. Stat. §§ 6-1-101 to 6-1-115 (2022); Delaware, Del. Code Ann. tit. 6,

§§ 2531 to 2536 (2022); Georgia, Ga. Code Ann. §§ 10-1-370 to 10-1-375 (2022); Hawaii, Haw.

Rev. Stat. §§ 481A-1 to 481A-5 (2022); Illinois, 815 Ill. Comp. Stat. 510/1 to 510/7 (2022);

Maine, Me. Rev. Stat. Ann. tit. 10, §§ 1211 to 1216 (2022); Minnesota, Minn. Stat. § 325D.43 to

.48 (2022); Nebraska, Neb. Rev. Stat. §§ 87-301 to 87-306 (2022); New Mexico, N.M. Stat.

Ann. §§ 57-12-1 to 57-12-22 (2021); New York, N.Y. Gen. Bus. Law § 349 (McKinney 2022);

Ohio, Ohio Rev. Code Ann. §§ 4165.01 to 4165.04 (2022); and Oklahoma, Okla. Stat. tit. 78,

§§ 51 to 55 (2022).

          99.      Aviator Nation’s unauthorized use of confusingly similar imitations of adidas’s

Three-Stripe Mark has caused and is likely to cause substantial injury to the public and to adidas.

adidas, therefore, is entitled to injunctive relief and to recover damages and, if appropriate,

punitive damages, costs, and reasonable attorneys’ fees.

          100.     All of Aviator Nation’s complained-of actions are at the direction of, and

approved by, Ms. Mycoskie, who is individually liable.

                               SIXTH CLAIM FOR RELIEF
                 (Common Law Trademark Infringement and Unfair Competition)

          101.     adidas repeats and incorporates by reference the allegations in the preceding

paragraphs.



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         102.      Aviator Nation’s actions, at the direction of Ms. Mycoskie, constitute common

law trademark infringement and unfair competition, and have created and will continue to create,

unless enjoined by this Court, a likelihood of confusion to the irreparable injury of adidas. adidas

has no adequate remedy at law for this injury.

         103.      On information and belief, Aviator Nation acted with full knowledge of adidas’s

use of, and registered and common law rights to, adidas’s Three-Stripe Mark and without regard

to the likelihood of confusion of the public created by Aviator Nation’s activities.

         104.      Aviator Nation’s actions demonstrate an intentional, willful, and malicious intent to

trade on the goodwill associated with adidas’s Three-Stripe Mark to the great and irreparable injury

of adidas.

         105.      As a result of Aviator Nation’s actions, adidas has been damaged in an amount not

yet determined or ascertainable. At minimum, however, adidas is entitled to injunctive relief, to an

accounting of Aviator Nation’s profits, damages, and costs. Further, in light of Aviator Nation’s

deliberate and malicious use of confusingly similar imitations of adidas’s Three-Stripe Mark, and the

need to deter Aviator Nation from engaging in similar conduct in the future, adidas additionally is

entitled to punitive damages.

         106.      All of Aviator Nation’s complained-of actions are at the direction of, and

approved by, Ms. Mycoskie, who is individually liable.

                                   SEVENTH CLAIM FOR RELIEF
                                       (Breach of Contract)

         107.      adidas repeats and incorporates by reference the allegations in the preceding

paragraphs.

         108.      The 2022 Agreement is a valid contract.


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         109.      The 2022 Agreement was supported by adequate consideration.

         110.      The 2022 Agreement was signed by Ms. Mycoskie and binds Aviator Nation’s

officers and directors.

         111.      Aviator Nation (and Ms. Mycoskie personally) willfully breached the 2022

Agreement when Aviator Nation (at Ms. Mycoskie’s direction) manufactured, offered for sale,

and/or sold the Infringing Apparel bearing stripe designs that are confusingly similar to adidas’s

Three-Stripe Mark, including designs that are indistinguishable from the exact designs Aviator

Nation agreed to stop selling pursuant to the 2022 Agreement.

         112.      Ms. Mycoskie and Aviator Nation further willfully breached the 2022 Agreement

by revealing the confidential contents and terms of that Agreement on a National Public Radio

program.

         113.      Aviator Nation’s breach of its contractual obligations (at Ms. Mycoskie’s

direction) has damaged adidas, and Aviator Nation’s ongoing breach of the 2022 Agreement is

inflicting irreparable harm on adidas.

         114.      Additionally, the 2022 Agreement states that in the event of a breach by Aviator

Nation, adidas shall be entitled, in addition to other relief, to “injunctive relief and to recover its

costs, including reasonable attorneys’ fees.” Accordingly, adidas is entitled to permanent

injunctive relief, to damages resulting from Aviator Nation’s breach, and to recover its costs and

attorneys’ fees.

                                           PRAYER FOR RELIEF

         WHEREFORE, adidas prays that:

         1.               Aviator Nation and all of its agents, officers, employees, representatives,

successors, assigns, attorneys, and all other persons acting for, with, by through or under
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authority from Aviator Nation, or in concert or participation with Aviator Nation, and each of

them, be enjoined permanently from:

                   a. using the Three-Stripe Mark or any other copy, reproduction,

                          colorable imitation, or simulation of adidas’s Three-Stripe Mark on or

                          in connection with Aviator Nation’s goods (including any products

                          identical or indistinguishable from products Aviator Nation agreed to

                          stop selling pursuant to the 2022 Agreement);

                   b. passing off, palming off, or assisting in passing off or palming off

                          Aviator Nation’s goods as those of adidas, or otherwise continuing any

                          and all acts of unfair competition as alleged in this Complaint; and

                   c. advertising, promoting, offering for sale, or selling the Infringing

                          Apparel or other goods bearing confusingly similar imitations of

                          adidas’s Three-Stripe Mark;

         2.               Aviator Nation be ordered to cease offering for sale, marketing, promoting,

and selling and to recall all products sold under or bearing any confusingly similar imitations of

adidas’s Three-Stripe Mark that are in Aviator Nation’s possession, custody, or control, or have

been shipped by Aviator Nation or under its authority, to any customer, including but not limited

to, any wholesaler, distributor, retailer, consignor, or marketer, and also to deliver to each such

store or customer a copy of this Court’s order as it relates to said injunctive relief against Aviator

Nation;

         3.               Aviator Nation be ordered to deliver up for impoundment and for destruction,

all apparel, signs, advertising, sample books, promotional materials, or other materials in the



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possession, custody, or control of Aviator Nation that are found to adopt, infringe, or dilute

adidas’s Three-Stripe Mark or that otherwise unfairly compete with adidas and its products;

         4.               Aviator Nation be compelled to account to adidas for any and all profits

derived by Aviator Nation from the sale or distribution of the Infringing Apparel;

         5.               adidas be awarded all damages caused by the acts forming the basis of this

Complaint;

         6.               Based on Aviator Nation’s knowing and intentional use of confusingly similar

imitations of adidas’s Three-Stripe Mark, the damages awarded be trebled and the award of

Aviator Nation’s profits be enhanced as provided for by 15 U.S.C. § 1117(a);

         7.               Aviator Nation be required to pay adidas the costs of this action and adidas’s

reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117(a), the state statutes and common law

cited in this Complaint, as well as the 2012 Settlement Agreement;

         8.               Based on Aviator Nation’s willful and deliberate infringement and dilution of

adidas’s Three-Stripe Mark, and to deter such conduct in the future, adidas be awarded punitive

damages;

         9.               adidas be awarded prejudgment and post-judgment interest on all monetary

awards;

         10.              All of the foregoing relief is additionally sought against Ms. Mycoskie

personally, because she is an officer of Aviator Nation, directed Aviator Nation’s actions, and

signed the Agreements on behalf of Aviator Nation; and

         11.              adidas have such other and further relief as this Court may deem just.




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                                     JURY TRIAL DEMAND

         adidas respectfully demands a trial by jury on all claims and issues so triable.



DATED: May 1, 2024                      PERKINS COIE LLP


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